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               UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

   Case Name: United States of America v. Edon Yoshida Kagasoff                                    Case No. 2:22-CR-00080-DMG-2

                                             0 Defendant          ~ Material Witness

   Violation of Title and Section: 18:371; 26:7206(1)
                                 0Summons           ~ Out of District ~ UNDER SEAL ~ Modified Date:

  Check onl one ofthefive numbered boxes below (unless one bond is to be replaced by another):
  1,    Personal Recognizance Signature On y         (~),~ Affidavit of Surety With Justification           Release No.
                                                            (Norm Cx-3) Signed by:                              ~    ~,
  2. ❑X Unsecured Appearance Bond
         g ~.s.nnn.nn
                                                                                                               Release to Pretrial ONLY
  3. ~ $ppearance Bond                                                                                       ~ Release to Probation ONLY
                                                                                                               l~orthwith Release
    (a).~ Cash Deposit (AmoLu~t nr %)(Form CR-7)
                                                                       With Full Deeding of Property:

    (b).~ Affidavit of Surety Without
          Justification (Form CR-4) Signed by:
                                                                                                             ~ All Conditions of Bond
                                                                                                              (ExceptClearing-Warrants
                                                                                                                Condition) Must be Met
                                                                                                                and Posted by:



                                                                                                                 Third-Party Custody
                                                        4,~ Collateral Bond in the Amount of(Cash                Affidavit(Form CR-31)
                                                            or Negotiable Securities):
                                                              $                                              ■ Bai] Fixed by Court:
                                                                                                             ~
                                                        5,~ Corporate Surety Bond in the Amount of:           Rpp          / DL
                                                             $                                                  (Judge /Clerk's Initials)


                                                    PRECONDITIONS TO RELEASE
      The government has requested a Nebbia hearing under 18 U.S.C. 4 3142(g)(4).
     The Court has ordered a Nebbia hearing under 4 3142(g)(4).
     The Nebbia hearing is set for                                     at            ❑ a.m. ❑ p.m.

                                                ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
Q Submit to: ~ Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation(USPO)supervision as directed by USPO.
               (The agency indicated above,PSA or USPO, will6e referred to below as 'SupervisingAgency.'~

Q Surrender all passports and travel documents to Supervising Agency no later than Close of business 4/5/2022               sign a Declaration

    re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport or other travel document during the pendency
    of this case.
■ Travel is restricted to CACD
~                                                                                           unless prior permission is granted by Supervising
    Agency to travel to a specific other location. Court permission is required for international travel.
■ Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
~
   Maintain or actively seek employment and provide proof to Supervising Agency. Q Employment to be approved by Supervising Agency.
   Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                Defendant's Initials:~»~ Date: ~ "' I ~ ZZ-
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                                                 Q Defendant         ~ Material Witness
          Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

          witness in the subject investigation or prosecution, ~ including but not limited to

                                                               ;~ except
   Q Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
          ofcounsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

         Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
          you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
         Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
          own legal or true name without prior permission fi•om Supervising Agency. ~ In order to determine compliance, you agree
          to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
         Do not engage in telemarketing.
         Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining
          permission from the Court, except
         Do not engage in tax preparation for others.
         Do not use alcohol.
         Participate in the electronic remote alcohol monitoring program as directed Uy Supervising Agency and abide by all the rules and
          requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
         Supervising Agency.
         Do not use or possess illegal drugs orstate-authorized marijuana.    ~■ In order to determine compliance, you agree to
         submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal,
  Q Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
         designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
         prescribed by a medical doctor.
  ~
  ■ Submit to:          drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
         You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
         Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
         of treatment based upon your ability to pay as determined by Supervising Agenry. ~Release to PSA only Q Release to USPO only
  D Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
  i
         Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
        Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
        restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
        to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

        Location Monitoring Technology

             Location Monitoring technology at the discretion of the Supervising Agency

        or




CR-1                                       CGN'PRAL DISTRICT' OF CALIFORNIA
                                                                                  Defendant's Initials:
                                                                                                 130ND
                                                                                                           ~"          Date:        l~ ~z2
                                                                                                                                     PAGH 2 OF 5
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                                               ■ Defendant
                                               ~                  ~ Material Witness

            Location Monitoring with a bracelet
                 at the discretion of the Supervising Agency or
                 Radio Frequency(RF)or
                Global Positioning System (GPS)

                Release to the Supervising Agency only or     ~ Placement of bracelet within 24 hours of release
     or


            Location Monitoring without a bracelet

                at the discretion of the Supervising Agency or

                Virtual/Biometric or

                Voice Recognition



    Restrictions

            Location Monitoring only - no residential restrictions

            Curfew -You are restricted to your residence every day:
                from                     to
                as directed by Supervising Agency

            Home Detention -You are restricted to your residence at all times except for employment, education, religious services, medical
            needs or treatment, attorney visits, court appearances and obligations, essential needs, and
            all of which must be preapproved by the Supervising Agency
            Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
            appearances and obligations, and                                      all of which must be preapproved by the Supervising Agency


   You are placed in the third-party custody(Form CR-31) of
   Clear outstanding Q warrants or~ DMV and traffic violations and provide proof to Supervising Agency within                     days
    of release from custody.
   Do not possessor have access to, in the home,the workplace, or any other location, any device that offers Internet access except
    as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
    and/or property by Supervising Agency in conjunction with the U.S. Marshal.
   Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
    the age of 18 except in the presence of a parent or legal guardian of the minor.
   Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
    under the age of 18.
   Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
   facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
                                                                                Defendant's Initials:~C
                                                                                                      L~            Date:           ('—
1 (07/21)                               CENTRAL llISTRIC;T OP CALIFORNIA RLI.EASI.; ORDIiR AND BOND FORM                          PAGG30P5
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                                                     Defendant     ~ Material Witness


        Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
         of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
         Marshal.
        Other conditions:




                                                GENERAL CONDITIONS OF RELEASE

   I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
   may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
   United States District Court to which I may be removed or to which the case maybe transferred.

   I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
   direction in connection with such judgment as the Court may prescribe.

   I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
   so that I may be reached at all times.

   I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C.§ 14135a.




                                                                                      Defendant's I                     Date:   ~ — ~ — ~Z
CR-1 (07121)                             CENTRAL DISTRICT OF CALIFORNIA RCLEASE ORDER AND BOND CORM                                  PAGE 4 Of 5
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                                                    Q Defendant       ~ Material Witness



                                      ACKNOWLEDGMENT OFDEFENDANT/MATERIAL WITNESS
      As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
      and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
      al] conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

      Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
      continue in full force and effect until such time as duly exonerated.

      I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
      release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
      fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
     Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
     forfeited.




         ~ • I - ZZ                                                                                     q~-a ~3 ~i 203
     Date                                     Signature ofD               rial Witness                  Telephone Number




     City and State(DO NOTINCLUDE ZIP CODE)




         Check if interpreter is used: I have interpreted into the                                                 language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                         Date

                     ~
                     /                    ~

     Approved:       ~~                        '/                                                                         ~~~~.
                               United States District Judge /Magistrate Judge                        Date

     If cash deposited: Receipt #                                for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                 Defendant's Initials~(~
                                                                                                     /
                                                                                                     ~                Date: ~ ~ I         ~ ~~
CR-1 (07/21)                               CENTRAL DiS1'RICT OF CALIFORNIA RELGASC ORDGIi AND 130ND FORM                           PAGG 5 OF 5
